             Case 3:21-cv-05695-JD Document 39 Filed 12/15/21 Page 1 of 3


1

2

3
                     THE UNITED STATES DISTRICT COURT
4                FOR THE NORTHERN DISTRICT OF CALIFORNIA

5

6     NATIONAL FAMILY FARM                 )   Case No. 21-5695-JD
      COALITION, et al.,                   )
7                                          )
                       Plaintiffs,         )   JOINT REQUEST FOR
8                                          )   TELEPHONIC APPEARANCE
9                     v.                   )   AT CASE MANAGEMENT
                                           )   CONFERENCE
10    TOM VILSACK, et al.,                 )
                                           )
11                     Defendants.         )
12                                         )

13

14

15

16

17

18

19
20

21

22

23

24

25

26

27

28


     CASE NO. 3:21-CV-5695-JD                                               1
     JOINT REQUEST FOR TELEPHONIC APPEARANCE
              Case 3:21-cv-05695-JD Document 39 Filed 12/15/21 Page 2 of 3


1          Pursuant to this Court’s Standing Order for Civil Cases, the parties

2    respectfully request leave to appear telephonically in the upcoming Case

3    Management Conference scheduled for 10 AM on December 23, 2021. Proposed

4    Defendant-Intervenors stated that they intend to appear in person but do not

5    oppose the motion.

6          For both Plaintiffs’ and Defendants’ counsel, traveling for the conference from

7    Portland and Washington D.C., respectively, would present difficulties due to its

8    proximity to Christmas Eve and Christmas Day. The parties’ counsel would

9    appreciate the ability to spend time with their families over the holidays, without

10   traveling immediately before seeing their loved ones, especially with the added risk
11   of Covid-19 in mind.
12         Plaintiffs’ primary counsel George Kimbrell and Audrey Leonard are based in
13   Plaintiff counsels’ Portland, Oregon office. Given the ongoing Covid-19 pandemic,
14   Plaintiffs’ attorneys are concerned about the risks of travelling to San Francisco for
15   the conference immediately before the holidays. While they are vaccinated, they
16   have individuals within their respective circles who are not, including children too
17   young yet to be vaccinated as well as at-risk elderly unable to yet be vaccinated.
18         Plaintiffs’ local counsel Meredith Stevenson is their only attorney on the
19   papers of this case who currently resides in the San Francisco area. However, her
20   appearance alone would not comport with this Court’s standing order requiring

21   Plaintiffs to be represented by their lead counsel at case management conferences.

22   Further, Ms. Stevenson has plans to travel to Indiana to visit family and will not be

23   in San Francisco on the 23rd.

24         Counsel for Defendants are based in Washington, D.C. and reside in the

25   Washington, D.C. area. Department of Justice policy currently permits “only

26   mission-critical travel.” See 2021 Department of Justice COVID-19 Workforce

27   Safety Plan at 3, https://perma.cc/2FUJ-6HS6. Pursuant to this policy, “[r]emote

28   meetings, hearings, and court operations are strongly encouraged over in-person


     CASE NO. 3:21-CV-5695-JD                                                                 2
     JOINT REQUEST FOR TELEPHONIC APPEARANCE
              Case 3:21-cv-05695-JD Document 39 Filed 12/15/21 Page 3 of 3


1    appearances,” and official travel “should occur only after means to otherwise

2    accomplish the business have been exhausted.” Id. Accordingly, pursuant to that

3    policy, counsel for Defendants respectfully request that the hearing be conducted

4    remotely, either by videoconference or teleconference, rather than in-person.

5          For the foregoing reasons, the parties respectfully request leave to appear

6    telephonically at the upcoming Case Management Conference.

7

8    Dated: December 15, 2021

9                                    /s/ George Kimbrell
                                      GEORGE KIMBRELL (Pro Hac Vice)
10
                                      AUDREY LEONARD (Pro Hac Vice)
11                                    MEREDITH STEVENSON (CA Bar No. 328712)
                                      AMY VAN SAUN (Pro Hac Vice)
12                                    Center for Food Safety
                                      303 Sacramento Street, 2nd Floor
13                                    San Francisco, CA 94111
                                      Phone: (415) 826-2770
14                                    Emails: gkimbrell@centerforfoodsafety.org
                                               aleonard@centerforfoodsafety.org
15                                             mstevenson@centerforfoodsafety.org
                                               avansaun@centerforfoodsafety.org
16
                                      Counsel for Plaintiffs
17
                         BRIAN M. BOYNTON                  TODD KIM
18                       Acting Assistant Attorney         Assistant Attorney General
                         General                           United States Department of
19                       Civil Division                    Justice
                         United States Department of       Environment & Natural
20                       Justice                           Resources Division
21                       ERIC WOMACK                        /s/ Robert M.Norway
                         Assistant Branch Director         KRYSTAL-ROSE PEREZ,
22                       Federal Programs Branch           TX Bar No. 24105931
                         Civil Division                    ROBERT M. NORWAY,
23                                                         D.C. Bar No. 490715
                         CHRISTOPHER R. HEALY,             Trial Attorneys
24                       DC Bar No. 219460                 Ben Franklin Station, P.O.
                         Trial Attorney                    Box 7611
25                       Federal Programs Branch           Washington, D.C. 20044-7611
                         Civil Division                    (202) 305-0486 (Perez)
26                       1100 L St. NW                     (202) 307-1145 (Norway)
                         Washington, DC 20530              krystalrose.perez@usdoj.gov
27                       (202) 514-8095                    robert.m.norway@usdoj.gov
                         Christopher.Healy@usdoj.gov
28
                                      Counsel for Defendants

     CASE NO. 3:21-CV-5695-JD                                                            3
     JOINT REQUEST FOR TELEPHONIC APPEARANCE
